Case 1:20-cr-00148-CMA Document 1-1 Filed 06/02/20 USDC Colorado Page 1 of 2




DEFENDANT: MICHAEL SANG CORREA,
     a/k/a MICHAEL CORREA, a/k/a SANG CORREA, a/k/a MICHAEL COREA,
     a/k/a MICHAEL SANG COREA, a/k/a SANG COREA,


AGE/YOB: 1979

ADDRESS: DENVER, COLORADO

COMPLAINT FILED?          YES       X     NO

      IF YES, PROVIDE MAGISTRATE CASE NUMBER:

HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                    YES        X     NO

OFFENSES:        COUNT 1:     Title 18 U.S.C. § 2340A(c), Conspiracy to Commit
                 Torture

                 COUNTS 2 through 7:        Title 18 U.S.C. §§ 2340 and 2340A; and
                 2, Torture and Aiding and Abetting the Same

LOCATION OF OFFENSE
(County and State):           Denver County, Colorado and The Gambia, Africa

PENALTIES:       COUNT 1: NMT 20 years in prison, NMT $250,000 fine, or both;
                 NMT 5 years supervised release; $100 special assessment; and
                 restitution

                 COUNTS 2 through 7:        NMT 20 years in prison, NMT $250,000
                 fine, or both; NMT 5 years supervised release; $100 special
                 assessment; and restitution (for each count)

AGENT/DEPUTY:                 Barton Garrison, Homeland Security Investigations

AUTHORIZED BY:                Gregory A. Holloway, Assistant U.S. Attorney
                              District of Colorado

                              Erin Cox, Trial Attorney
                              Tina Giffin, Senior Counsel
                              U.S. Department of Justice, Human Rights and
                              Special Prosecutions Section
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ESTIMATED TIME OF TRIAL:

       five days or less       X    over five days

THE GOVERNMENT

   X    Will seek detention in this case based on 18 U.S.C. § 3142(f)(1).

The statutory presumption of detention is applicable to this defendant.
